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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JOSEPH SIMMONS,                                     :
                      Plaintiff,                    :
                                                    :
                      v.                            :       Civil No. 2:22-cv-01644-JMG
                                                    :
THE CITY OF PHILADELPHIA, et al.,                   :
                  Defendants.                       :
__________________________________________


                      NOTICE OF INITIAL PRETRIAL CONFERENCE

       TAKE NOTICE, that a Rule 16 Conference, in the above case has been set as follows:
       Lead counsel shall appear for a Rule 16 conference in the above-captioned matter on
Tuesday, April 2, 2024 at 11:00 AM, at the United States District Court located at 504 West
Hamilton Street, Suite 4701, Allentown, Pennsylvania. Counsel are required to meet and confer
pursuant to Rule 26(f) and to complete and submit to the Court the Joint Rule 26(f) Report no later
than Monday, March 25, 2024. 1
       The Parties are advised that the United States Magistrate Judge assigned to this Court is the
Honorable Pamela A. Carlos.


                                                    For the Court,

                                                    /s/ Brian R. Dixon
                                                    Brian R. Dixon
                                                    Deputy Clerk for Judge John M. Gallagher


Date of Notice: February 9, 2024



1
  It is expected that the Rule 26(f) meeting should be a meaningful and substantive discussion to
formulate the proposed discovery plan required by the Rule. This discussion should include
anticipated deposition witnesses, a proposed deposition schedule, and the need for any third-party
subpoenas and waiver from the opposing party. The parties should begin discovery as soon as
permitted under the applicable rules without waiting for the Rule 16 conference and regardless of
whether a motion is pending.
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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
  __________________________________________

  PLAINTIFF NAME,                               :
                        Plaintiff,               :
                                                :
                        v.                      :                Civil No. X:xx-cv-0xxxx-JMG
                                                 :
      DEFENDANT NAME, et al.,                    :
                        Defendants.              :
      __________________________________________


                                       JOINT RULE 26(f) REPORT
            In accordance with Federal Rule of Civil Procedure 26(f), counsel for the parties conferred on

  (date) and submit the following report of their meeting for the court’s consideration:

 I.      Counsel

            A. Lead counsel for Plaintiff(s):    _____________________________

            B. Lead counsel for Defendant(s):    _____________________________

            C. Counsel who participated in Rule 26(f) conference on behalf of Plaintiff(s):

               ____________________
               ____________________
               ____________________

            D. Counsel who participated in Rule 26(f) conference on behalf of Defendant(s):

               ____________________
               ____________________
               ____________________

II.      Description of Claims and Defenses

            The Parties should assume that the Court has read the Complaint and is familiar with the

  claims. However, the facts supporting those claims and defenses are unknown. Therefore, counsel

  shall summarize the primary facts that the parties contend support their claims and defenses and the

  threshold legal issues. Counsel should not merely parrot their pleadings. In addition, the Parties
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       should attach critical documents to this report for the Court to review, if not attached to the pleadings

       already (e.g., in a contract case, the document(s) comprising the contract; in a personal injury case,

       photographs of the scene, etc.).

III.       Stipulated Facts

               The Parties must stipulate to facts that are not in dispute. In the interest of judicial

       economy and avoiding duplicative and/or unnecessary discovery, the Parties are required to identify

       and sign a stipulation outlining facts which they do not intend to dispute, although they are not

       required to identify disputed facts at this early stage.

 IV.       Jurisdiction

               The Parties must state the basis for this Court’s subject matter jurisdiction over the dispute.

 V.        Insurance Coverage and Deductibles

               The Parties must disclose any insurance coverage and the cost of the retainer or deductible as

       required by Rule 26(a)(1)(A).

VI.        Dispositive Motions

               The Parties must identify if either side expects to file a case-dispositive motions, what motion,

       and approximate timeline for the motion.

VII.       Anticipated Scope of Discovery

               A. Summarize with specificity those issues on which the Parties will need to conduct

                   discovery. Identify categories of information each Party needs in discovery and why.

               B. Anticipated number of interrogatories per Party:           ___________________

               C. Anticipated number of depositions per Party:               ___________________

               D. To the extent either Party proposes to exceed the presumptive limits in the Federal Rules

                   of Civil Procedure for discovery, explain the basis for that proposal.
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               E. Do the Parties anticipate the need for any third-party discovery? If so, identify the likely

                   third-parties and the discovery to be sought.

               F. Do the Parties anticipate the need for experts? If so, identify the subjects on which the

                   expert(s) may opine.

VIII.      Status of Discovery

               The Parties must summarize the status of discovery to-date. State the parties’ agreement on

     timing, form and scope of informal disclosures. Specifically identify not only the information listed

     in Rule 26(a)(1), but any additional information the parties agree to disclose informally. If nothing

     has been done in terms of discovery, the Parties should explain why. Keep in mind that self-executing

        discovery must not be delayed until the pretrial conference.

 IX.       Proposed Case Management Deadlines

               When completing this section, the Parties should presume that the Court will not bifurcate

    fact and expert discovery. Therefore, the Parties should propose dates that take that presumption

    into account.

               A. Deadline to serve initial disclosures under Rule 26(a)(1) (*must be exchanged at least one

                   (1) business day before Rule 16 conference):        ___________________

               B. Deadline to amend pleadings to add claims or Parties (*must be as early as practicable to

                   avoid prejudice or unnecessary delays):              ___________________

               C. Deadline for affirmative expert reports (if any) and disclosure of lay witness opinion

                   testimony with related information and documents (if any): ___________________

               D. Deadline for rebuttal expert reports (if any):                ___________________

               E. Deadline to complete all discovery (fact and expert, including expert depositions):

                   ___________________

               F. If any Party seeks more than 120 days for discovery, explain why.
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             G. Deadline to file motion for summary judgment:                 ___________________

             H. Estimated trial ready date:                                   ___________________

             I. Estimated Number of Days for Trial:                           ___________________

X.       Deposition Scheduling

             The Court expects the Parties to meet and confer as soon as practicable to set aside dates to

     hold open for depositions before the close of discovery. If the Parties have not already done so, the

      Court will order the Parties to do so within two weeks of the Rule 16 conference.

             Have the Parties set aside dates for deposition? ___ Yes ___ No

             If yes, what are those dates? _________________________________________________

             If no, when do the parties intend to confer, and how many dates do they intend to set aside?

             ____________________________________

XI.      Electronic Discovery

             Prior to the Rule 16 conference, the Court expects the Parties to have a thorough discussion

  about electronic discovery, including but not limited to 1) the need for electronically stored

  information (“ESI”), 2) sources of ESI, 3) the anticipated scope of electronic discovery, 4) the identity

  of potential custodians, 5) whether search terms will be necessary and, if so, any limitations thereto,

  6) the respective burdens of collecting, reviewing, and producing ESI, including any claims for cost-

  shifting under the Federal Rules of Civil Procedure, and 7) any anticipated problems with electronic

  discovery. The Parties should summarize their discussion on these issues here. The Court expects

  counsel who attend the Rule 16 conference to be familiar with and able to discuss any ESI-related

  issues that might arise.

             In addition, the Parties should state whether they have agreed to an ESI stipulation. If so, the

  Parties should submit the stipulation to the Court in advance of the Rule 16 conference. If not,

  the Parties should identify what issues need to be resolved to finalize the stipulation.
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XII.       Protective Orders and Confidentiality Agreements

               The Parties should indicate whether they anticipate the need for a protective order in this case.

        If so, the Parties must explain what type of information needs protection from disclosure and why

        such protection is warranted under governing standards. In addition, the Parties are directed to Judge

        Gallagher’s Policies and Procedures concerning Protective Orders and Confidentiality Agreements.

XIII.      Alternative Dispute Resolution

               A. Have the Parties engaged in any settlement discussions? If so, set forth the status of those

                   negotiations. If not, explain why not.

               B. Have the Parties explored or considered other forms of alternative dispute resolution? If

                   so, summarize those efforts. If not, state the Parties’ positions with respect to ADR, as

                   required under Local Rule of Civil Procedure 53.3.

               C. Identify the individual who will attend the Rule 16 conference who will have authority to

                   discuss settlement.

XIV.       Consent to Send Case to a Magistrate Judge

               The Parties should indicate whether they consent to have a United States Magistrate Judge

    conduct any or all proceedings in this case, pursuant to 28 U.S.C. § 636(c).



 XV.       Policies and Procedures

               Judge Gallagher’s Policies and Procedures are available for the Parties to review on the

    Court’s website. By signing below, counsel for each Party and/or each pro se Party represents that

    he or she has reviewed the Judge’s Policies and Procedures and acknowledges the requirements

    contained therein. The Parties and their counsel further acknowledge by signing below that Judge

    Gallagher will strike pleadings and other submissions that do not comply with his Policies and

    Procedures.
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XVI.      Other Matters

              The Parties should identify any other issues that have not been addressed above but may

       require the Court’s attention (e.g., anticipated motions, bifurcation, privilege issues, etc.).

   ACKNOWLEDGEMENT OF RULE 26(F) MEETING AND THE ABOVE SUBMISSION TO
   THE COURT:


   _________________________________                          _________________________________

   Name:                                                      Name:
   Counsel For:                                               Counsel For:
   Law Firm Name:                                             Law Firm Name:
   Address:                                                   Address:

       Telephone:                                             Telephone:
       Fax:                                                   Fax:
       E-Mail:                                                E-Mail:

   Date:                                                      Date:
